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                           No. 3:18-cv-171-CWR-FKB

       JACKSON WOMEN’S HEALTH ORGANIZATION,
       On behalf of itself and its patients, et al.,
                                                                   Plaintiffs,

                                         v.

       THOMAS E. DOBBS,
       In his official capacity as State Health Officer of the
       Mississippi Department of Health, et al.,
                                                                 Defendants.
                             ____________________

                 ORDER GRANTING PRELIMINARY INJUNCTION
                         ____________________

          Before CARLTON W. REEVES, District Judge.
       Here we go again. Mississippi has passed another law ban-
       ning abortions prior to viability. The latest iteration, Senate
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       Bill 2116, bans abortions in Mississippi after a fetal heartbeat
       is detected, which is as early as 6 weeks lmp. 1
       The parties have been here before. Last spring, plaintiffs suc-
       cessfully challenged Mississippi’s ban on abortion after 15
       weeks lmp. The Court ruled that the law was unconstitutional
       and permanently enjoined its enforcement. 2 The State re-
       sponded by passing an even more restrictive bill, S.B. 2116.
       Plaintiffs now move to supplement their original complaint
       to challenge S.B. 2116 and to preliminarily enjoin the bill’s en-
       forcement, prior to it taking effect on July 1, 2019. On May 21,
       the Court held oral argument on both motions.
                                I. Supplemental Complaint
       This suit has already been divided into two parts: Part I ad-
       dressed the 15-week ban, and Part II, which is currently in
       discovery, involves challenges to five different abortion regu-
       lation schemes. Plaintiffs’ proposed supplemental complaint
       would in effect add a Part III—a challenge to S.B. 2116 based
       on due process and equal protection claims.
       Under Rule 15(d), “the court may, on just terms, permit a
       party to serve a supplemental pleading setting out any trans-
       action, occurrence, or event that happened after the date of
       the pleading to be supplemented.” 3



       1The common measure of fetal gestational age is from the first day of the
       woman’s last menstrual period (“lmp”). See Docket No. 101-2 at 2 n.1.
       2Jackson Women's Health Org. v. Currier, 349 F. Supp. 3d 536 (S.D. Miss.
       2018).
       3 Fed.   R. Civ. P. 15(d).



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       “[T]here is the obvious and reasonable requirement that the
       supplementation have ‘some relation’ to what is sought to be
       supplemented.” 4 When deciding whether to allow supple-
       mentation, the court should consider the totality of the cir-
       cumstances, such as: “(1) undue delay, (2) bad faith or dila-
       tory motive by the movant, (3) repeated failure to cure defi-
       ciencies by previous amendments, (4) undue prejudice to the
       opposing party, or (5) futility of amendment.” 5
       The State concedes that none of these factors “weigh against
       allowing supplementation[.]” 6 Rather, the State argues that
       because the challenge to S.B. 2116 does not stem from the orig-
       inal complaint, plaintiffs are attempting to “shoehorn a sepa-
       rate and distinct constitutional challenge” into “their existing
       complaint[.]” 7
       There are several reasons to allow plaintiffs to supplement the
       complaint. First, as all parties acknowledge, none of the fac-
       tors mentioned above (delay, bad faith, deficiencies, undue
       prejudice, or futility) counsel against supplementation. 8



       4 Alabama Women's Ctr. v. Miller, 318 F.R.D. 143, 148 (M.D. Ala. 2016) (cit-
       ing Rowe v. U.S. Fid. & Guar. Co., 421 F.2d 937, 943 (4th Cir. 1970)); see also
       Smith v. Hebert, 533 F. App’x 479, 483 (5th Cir. 2013).
       5 Chemetron Corp. v. Bus. Funds, Inc., 682 F.2d 1149, 1194 (5th Cir. 1982),
       rev’d on other grounds, 460 U.S. 1007 (1983); see also U.S. ex rel. Gadbois v.
       PharMerica Corp., 809 F.3d 1, 7 (1st Cir. 2015).
       6   Docket No. 108 at 3 n.1.
       7 Id.   at 4.
       8 At oral argument, the Court asked what prejudice the State would face
       if supplementation was allowed. The State did not articulate any sort of
       prejudice and expressed only that it “doesn’t make any sense” to have the



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       Second, the proposed supplemental claims are related to the
       original suit. The supplemental claims involve the same par-
       ties as the original suit. The supplemental claims pose the
       same legal question as the original suit: does the law ban abor-
       tion prior to viability? And the supplemental claims involve
       a substantial overlap of facts relevant to the original suit. 9 Fi-
       nally, the supplemental claims can be adjudicated simultane-
       ously with the current suit because Part II still has a year left
       in discovery.
       In a similar case challenging Alabama’s abortion regulations,
       Judge Myron Thompson addressed a similar motion to sup-
       plement the complaint. He reasoned that “one of the primary
       goals of Rule 15(d) is to aid in the complete resolution of dis-
       putes between parties.” 10 Because plaintiffs filed the original
       complaint to “prevent permanent closure of the [abortion]
       clinic,” and their proposed supplemental complaint added a
       challenge to a regulation that would have also resulted in clo-
       sure, supplementation allowed for complete resolution in a
       single civil action. 11
       This Court is in a very similar position to Judge Thompson.
       The State passed a new abortion ban while its present abor-
       tion ban is in active litigation. Supplementation will allow for


       supplemental causes of action in a lawsuit that already includes two parts.
       Docket No. 117 at 20.
       9 Plaintiffs anticipate needing little additional discovery on the supple-
       mental claims beyond what has already been disclosed through the course
       of the case. Id. at 7–8.
       10   Miller, 318 F.R.D. at 150 (citation omitted).
       11   Id.



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       a complete resolution of the dispute between JWHO and the
       State. To use the State’s words, it would not “make sense” to
       force the plaintiffs to challenge this statute in a separate law-
       suit.
       The motion to supplement is granted. The supplemental
       claims against S.B. 2116 will proceed as Part III of this case.
       Part III will move forward on the same timeline as Part II.
                              II. Preliminary Injunction
       Plaintiffs have also moved for a preliminary injunction of S.B.
       2116. They must clearly demonstrate:
                (1) a substantial likelihood of success on the
                merits; (2) a substantial threat that the movant
                will suffer irreparable injury if the injunction is
                denied; (3) that the threatened injury outweighs
                any damage that the injunction might cause the
                defendant; and (4) that the injunction will not
                disserve the public interest. 12

       This Court previously found the 15-week ban to be an uncon-
       stitutional violation of substantive due process because the
       Supreme Court has repeatedly held that women have the
       right to choose an abortion prior to viability, and a fetus is not
       viable at 15 weeks lmp. 13 If a fetus is not viable at 15 weeks

       12Jackson Women’s Health Org. v. Currier, 760 F.3d 448, 452 (5th Cir. 2014)
       (quotation marks and citation omitted).
       13 SeeWhole Woman’s Health v. Hellerstedt, 136 S. Ct. 2292, 2320 (2016) (“we
       now use ‘viability’ as the relevant point at which a State may begin limit-
       ing women’s access to abortion for reasons unrelated to maternal
       health.”).



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       lmp, it is not viable at 6 weeks lmp. The State conceded this
       point. 14 The State also conceded at oral argument that this
       Court must follow Supreme Court precedent. 15 Under Su-
       preme Court precedent, plaintiffs are substantially likely to
       succeed on the merits of this claim. 16,17

       S.B. 2116 threatens immediate harm to women’s rights, espe-
       cially considering most women do not seek abortion services
       until after 6 weeks. 18 Allowing the law to take effect would
       force the clinic to stop providing most abortion care. 19 By


       14 See Docket No. 107 at 6 (“Defendants here necessarily concede that they

       have been unable to identify any medical research or data that show a fe-
       tus has reached the ‘point of viability’ during the 6-12 week LMP time pe-
       riod in which S.B. 2116 would operate.”).
       15   See Docket No. 117 at 39.
       16 See Hellerstedt, 136 S. Ct. at 2320; Gonzales v. Carhart, 550 U.S. 124, 146
       (2007); Planned Parenthood of Se. Pennsylvania v. Casey, 505 U.S. 833, 837
       (1992) (“regardless of whether exceptions are made for particular circum-
       stances, a State may not prohibit any woman from making the ultimate
       decision to terminate her pregnancy before viability.”); see also Beck v. Ed-
       wards, 136 S. Ct. 895 (2016) (denying certiorari on Eighth Circuit’s ruling
       that Arkansas’ 12-week abortion ban was unconstitutional); Stenehjem v.
       MKB Mgmt. Corp., 136 S. Ct. 981 (2016) (denying certiorari on Eighth Cir-
       cuit’s ruling that North Dakota’s fetal heartbeat bill was unconstitutional);
       EMW Women’s Surgical Ctr., P.S.C. v. Beshear, No. 3:19-CV-178-DJH, 2019
       WL 1233575, at *1 (W.D. Ky. Mar. 15, 2019) (district court temporarily en-
       joining similar heartbeat bill).

       17Substantive due process precedent requires enjoining S.B. 2116. The
       Court does not reach plaintiffs’ equal protection claim at this time.
       18   See Docket No. 101-2 at 3.
       19   See id. at 4.



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       banning abortions after the detection of a fetal heartbeat, S.B.
       2116 prevents a woman’s free choice, which is central to per-
       sonal dignity and autonomy. 20 This injury outweighs any in-
       terest the State might have in banning abortions after the de-
       tection of a fetal heartbeat. 21 Any delay in the enforcement of
       S.B. 2116 will serve the public interest by protecting this es-
       tablished right and the rule of law. 22
       Finally, the Legislature’s passage of S.B. 2116 during the pen-
       dency of this litigation compels the Court to make the follow-
       ing observation. If there is no medical evidence to prove that
       a fetus is viable at 15 weeks lmp or at 6 weeks lmp, then a
       fetus is not viable between 0 and 5 weeks lmp.
                                        III. Conclusion
       The plaintiffs’ request for a preliminary injunction is
       GRANTED. The defendants; their officers, agents, employees,
       and attorneys; and all other persons who are in active concert
       or participation with them; shall not enforce S.B. 2116. 23




       20See Casey, 505 U.S. at 851 (“These matters, involving the most intimate
       and personal choices a person may make in a lifetime, choices central to
       personal dignity and autonomy, are central to the liberty protected by the
       Fourteenth Amendment.”).
       21 See id. at 860 (“viability marks the earliest point at which the State’s in-
       terest in fetal life is constitutionally adequate to justify a legislative ban on
       nontherapeutic abortions.”).
       22 Currier,   760 F.3d at 458 n.9.
       23   Fed. R. Civ. P. 65(d).



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       SO ORDERED, this the 24th day of May, 2019.
                                          s/ CARLTON W. REEVES
                                       United States District Judge




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